  17-23705-rdd         Doc 27   Filed 11/20/18    Entered 11/20/18 14:48:45   Main Document
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                                                      November 19, 2018
Via ECF

Hon. Robert D. Drain
U.S. Bankruptcy Court, SDNY
300 Quarropas Street
White Plains, NY 10601
Attn: Arturo Tavarez

                 Re:    Debtor: Harold Lane
                        Chapter 13
                        U.S. Bankruptcy Court, SDNY – Case No. 17-23705(rdd)

                                LOSS MITIGATION STATUS REPORT

Honorable Sir:

       This firm represents the Debtor in the above referenced matter.

       On November 7, 2018, PennyMac Holdings, LLC forwarded an updated Trial Payment Plan
with an initial payment due December 1, 2018.

       On November 18, 2018, this office advised the attorneys for PennyMac that the Debtor would
be accepting the Loan Modification and will make the first payment due December 1, 2018.

                                             Respectfully submitted,
                                             LAW OFFICES OF ALLEN A. KOLBER, ESQ.

                                             /s/ Allen A. Kolber______________________________
                                              Allen A. Kolber, Esq.
AAK/sc
cc: Rosicki, Rosicki & Associates, P.C.
    Attn: Wendy Sinrilus (via email: wsinrilus@rosicki.com)
    Attorneys for PennyMac Holding, LLC
    Harold Lane (via email)
